       Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 1 of 7 Page ID #:177




            1   MARC E. MAYER (SBN 190969)
                  mem@msk.com
            2   l(Afll,t'G. PAGNANELLI (SBN 174763)
                  kg])@msk.com
            3   MITCBELL SILBERBERG & KNUPP LLP
                2049 Century Park East, 18th Floor
            4   Los Angeles, CA 90067-3120
                Telephone: (310) 312-2000
            5   Facsimile: (310) 312-3100
            6   Attorneys for Plaintiff
            7
            8
                                          UNITED STATES DISTRICT COURT
            9
                                     CENTRAL DISTRICT OF CALIFORNIA
           10

           11   UBISOFT, INC., a corporation existing    CASE NO. 2:19-cv-09132-GW (KESx)
                under the laws of California,
           12
                             Plaintiff,                  Honorable George H. Wu
           13         V.

           14   J.V.L., a/k/a SMBB, KOKUJIN, and         JOINT STIPULATION FOR
                MRGAMEBOY, an individual;                ENTRY OF CONSENT JUDGMENT
           15   SANDRA RIJKEN d/b/a SIMPLY               AND PERMANENT INJUNCTION
                SAN WEBDESIGN, an individual;
           16   MIZUSOFT LTD;.,._ an entity of
                unknown form; DuE 1 a/k/a
           17   SKULLMEME; DOE 2 a/k/a YUSUF;
                DOE 3 a/k/a EMRETM, and DOES 4
           18   through 10, inclusive,
           19              · Defendants.
           20
           21
           22
           23
           24
           25
           26
           27
  Mitchell 28
Silberberg &
KnuppLLP

    5603188.2
      Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 2 of 7 Page ID #:178




                1          PlaintiffUbisoft, Inc. ("Ubisoft") and Defendants J.V.L. and Sandra Rijken
                2   d/b/a Simply San Webdesign ("Defendants") (collectively, the "Parties"), hereby
                3   stipulate to an order for entry of judgment and permanent injunction as follows:
                4
                5          1.     Judgment shall be entered against Defendants in the amount of One
                6   Million, Four Hundred Thousand Dollars ($1,400,000), payable pursuant to the
                7   terms set forth in the Parties' Confidential Settlement Agreement and Release.
                8
                9          2.     Defendants, all persons acting under Defendants' direction or control
               10   (including but not limited to Defendants' agents, representatives, and employees),
               11   and those persons or companies in active concert or participation with Defendants
               12   who receive actual notice of this Order by personal service or otherwise, shall
               13   immediately and permanently cease and desist from any of the following:
               14
               15                 (a)    taking any steps on Defendants' own behalf or assisting others
               16   in creating, distributing, advertising, marketing or otherwise making available any
               17   software whose use infringes copyrights, patents, or trademarks owned or
               18   controlled by Ubisoft Inc. or its parents, subsidiaries, or affiliates ("Ubisoft")
               19   (Ubisoft' s "Intellectual Property"), circumvents technological measures that
               20   control access to Ubisoft' s games (including but not limited to Rainbow Six: Seige
               21   ("R6S")), or violates Ubisoft's Terms of Use ("TOU"), including but not limited to
               22   the software products known as "Mizusoft" and "CheapBoost" (the "Cheating
               23   Software") and any other software product designed to exploit or enable the
               24   exploitation ofR6S or any other game owned, published, distributed or operated
               25   by Ubisoft or its parents, subsidiaries, or affiliates;
               26
               27                 (b)   obtaining, possessing, accessing or using any software whose
  Mitchell     28   use by Defendants infringes any ofUbisoft's Intellectual Property, circumvents
Silberberg &
Knupp LLP
                                                                 1
      5603188.2
          Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 3 of 7 Page ID #:179




                1   technological measures that control access to Ubisoft's games, or violates the
                2   TOU, including but not limited to the Cheating Software, and any other software
                3   product designed to exploit or enable the exploitation ofR6S or any other game
                4   owned, published, or operated by Ubisoft or its parents, subsidiaries, or affiliates;
                5
                6                 (c)    Promoting, advertising, or encouraging or inducing others to
                7   purchase or use (including via any social media account, website, or video-sharing
                8   account) any software whose use infringes any ofUbisoft's Intellectual Property,
                9   circumvents technological measures that control access to Ubisoft's games, or
               10   violates the TOU, including but not limited to the Cheating Software, and any
               11   other software product designed to exploit or enable the exploitation ofR6S or any
               12   other game owned, published, or operated by Ubisoft or its parents, subsidiaries, or
               13   affiliates
               14
               15                 ( d)   selling, reselling, or processing payments for any software
               16   whose use infringes any ofUbisoft's Intellectual Property, circumvents
               17   technological measures that control access to Ubisoft's games, or violates the
               18   TOU, including but not limited to the Cheating Software, and any other software
               19   product designed to exploit or enable the exploitation ofR6S or any other game
               20   owned, published, or operated by Ubisoft or its parents, subsidiaries, or affiliates;
               21
               22                ( e)    assisting in any way with the development of software whose
               23   use infringes any ofUbisoft's Intellectual Property, circumvents technological
               24   measures that control access to Ubisoft's games, or violates the TOU, including
               25   but not limited to the Cheating Software, and any other software product designed
               26   to exploit or enable the exploitation ofR6S or any other game owned, published,
               27   or operated by Ubisoft or its parents, subsidiaries, or affiliates;
  Mitchell     28
Silberberg &
Knupp LLP
                                                                2
      5603188.2
     Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 4 of 7 Page ID #:180




            1                 (f)     sharing, copying, transferring, or distributing any software (or
            2   portion thereof) whose use infringes any of Ubisoft's Intellectual Property,
            3   circumvents technological measures that control access to Ubisoft' s games or
            4   violates the TOU, including but not limited to the Cheating Software, and any
            5   other software product designed to exploit or enable the exploitation ofR6S or any
            6   other game owned, published, or operated by Ubisoft or its parents, subsidiaries, or
            7   affiliates;
            8
            9                 (g)    publishing or distributing any source code or instructional
          10    material for the creation of software whose use infringes any of Ubisoft' s
          11    Intellectual Property rights, circumvents technological measures that control access
          12    to Ubisoft's games or violates the TOU, including but not limited to the Cheating
          13    Software, and any other software product designed to exploit or enable the
          14    exploitation ofR6S or any other game owned, published, or operated by Ubisoft or
          15    its parents, subsidiaries, or affiliates;
          16
          17                  (h)    operating, assisting or linking to any website designed to
          18    provide information to assist others in accessing, developing or obtaining any
          19    software whose use infringes any of Ubisoft' s Intellectual Property rights,
          20    circumvents technological measures that control access to Ubisoft's games or
          21    violates the TOU, including but not limited to the Cheating Software, and any
          22    other software product designed to exploit or enable the exploitation of R6S or any
          23    other game owned, published, or operated by Ubisoft or its parents, subsidiaries, or
          24    affiliates;
          25
          26                  (i)    investing or holding any financial interest in any enterprise
          27    which Defendants know or have reason to know is now, or intends in the future to
  Mitchell 28
Silberberg &
 Knupp LLP
                                                            3
    5603188.2
          Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 5 of 7 Page ID #:181




                1   be, engaged in any of the activities prohibited by this Judgment and Permanent
                2   Injunction.
                3
                4                 G)     reverse engineering, decompiling, packet editing, or otherwise
                5   manipulating without authorization, any game owned, published, or operated by
                6   Ubisoft or its parents, subsidiaries, or affiliates, including R6S, or providing
                7   assistance to any person or entity engaged in such activities.
                8
                9          3.     Defendants shall take all necessary steps to disable, remove, or
               10   otherwise shut down any social network accounts under their control that have
               11   been used to distribute or promote the Cheating Software or any other software
               12   whose use infringes any ofUbisoft's Intellectual Property rights, circumvents
               13   technological measures that control access to Ubisoft's games or violates the TOD.
               14
               15         4.      Defendants are ordered to destroy any software product whose use
               16   infringes any ofUbisoft's Intellectual Property, circumvents technological
               17   measures that control access to Ubisoft's games, or violates Ubisoft's Terms of
               18   Use ("TOD"), including but not limited to the Cheating Software, and any other
               19   software product designed to exploit or enable the exploitation of R6S or any other
               20   game owned, published, or operated by Ubisoft or its parents, subsidiaries, or
               21   affiliates, pursuant to the terms set forth in the Parties' Confidential Settlement
               22   Agreement and Release.
               23
               24         5.      Any company or entity that any Defendant controls in the future shall
               25   also comply with the provisions of this Judgment and Permanent Injunction.
               26
               27         6.      Defendants irrevocably and fully waive notice of entry of this
  Mitchell     28   Judgment and Permanent Injunction and notice and service of the entered
Silberberg &
 KnuppLLP
                                                               4
      5603188.2
     Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 6 of 7 Page ID #:182




            1   Judgment and Permanent Injunction and understand, confirm and agree that
            2   violation of the Judgment and Permanent Injunction will expose Defendants to all
            3   penalties provided by law, including contempt of Court.
            4

            5          7.     Defendants irrevocably and fully waive any and all rights to appeal
            6   this Judgment and Permanent Injunction, to have it vacated or set aside, to seek or
            7   obtain a new trial thereon or otherwise to attack in any way, directly or collaterally,
            8   its validity or enforceability.
            9

           10          8.    Nothing contained in this Judgment and Permanent Injunction shall
           11   limit the right ofUbisoft to seek relief, including without limitation damages, for
           12   any and all infringements by Defendants ofUbisoft's Intellectual Property
           13   occurring after the date of this Judgment and Permanent Injunction.
           14
           15         9.     The Court shall retain jurisdiction of this action to entertain such
           16   further proceedings and to enter such further orders as may be necessary or
           17   appropriate to implement and enforce the provisions of this Judgment and
           18   Permanent Injunction. Defendants consent to the personal jurisdiction of the
           19   United States District Court for the Central District of California for purposes of
           20   enforcing the Judgment and Permanent Injunction.
           21
           22
           23
           24
           25
           26
           27
  Mitchell 28
Silberberg &
KnuppLLP
                                                          5
    5603188.2
       Case 2:19-cv-09132-GW-KES Document 15 Filed 02/03/20 Page 7 of 7 Page ID #:183




             1         A copy of the [Proposed] Consent Judgment and Injunction is being lodged
             2   concurrently herewith and is attached hereto as Exhibit A.
             3
             4         IT IS SO STIPULATED
             5
             6
                 DATED: January 29, 2020             MITCHELL SILBERBERG & KNUPP LLP
             7
             8                                       By:       Isl Marc E. Mayer
                                                               Marc E. Mayer
             9                                                 Attorneys for Plaintiff
                                                               UBISOFT, INC.
            10
            11
                 DATED: January 29, 2020
            12
            13                                       By:        ~
                                                               J. . .
            14
            15   DATED: January 29, 2020
            16
            17                                       By:

            18
            19
                 DATED: January 29, 2020
            20
            21
            22
                                                     By:
                                                               Sana:::::/aSimply San
                                                               ~
                                                               Webdesign
            23
            24
            25
            26
            27
  Mitchell 28
Silberberg &
Knupp LLP
                                                           6
    5603188.2
